             Case 6:24-bk-04038-TPG       Doc 31     Filed 10/22/24    Page 1 of 3




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


                                                          Case No. 6:24-bk-04038-TPG
In re:                                                    Chapter 13

DILIP LAL,

      Debtor.
__________________________________/


                  TRUSTEE’S NOTICE OF FILING CORRESPONDENCE


         COMES NOW, the Trustee, Laurie K. Weatherford, and files with the Court a copy of

email correspondence sent to Pro Se Debtor, Dilip Lal, on October 21, 2024.



                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I have forwarded a true and correct copy of the foregoing via
United States Regular Mail or by electronic transmission on October 22, 2024 to the following:

Debtor - Dilip Lal, 8142 Via Rosa, Orlando, FL 32836

                                            BY: /s/ Laurie K. Weatherford
                                            LAURIE K. WEATHERFORD, Trustee
                                            Stuart Ferderer, Esquire
                                            Fla. Bar No. 0746967
                                            Ana V. De Villiers, Esquire
                                            Fla Bar No. 0123201
                                            Post Office Box 3450
                                            Winter Park, Florida 32790-3450
                                            Telephone: (407) 648-8841
                                            Facsimile: (407) 648-2665
                   Case 6:24-bk-04038-TPG          Doc 31    Filed 10/22/24    Page 2 of 3




From:                             Chrystal G
Sent:                             Monday, October 21, 2024 12:41 PM
To:                               EMAILDIL@GMAIL.COM
Subject:                          6:24-bk-04038-TPG DILIP LAL
Attachments:                      2404038 LAL - TRUSTEE'S PROPOSED SPREADSHEET; CURE AND REINSTATE MTG
                                  CLAIM 5.xlsx



Good a ernoon, Mr. Lal,

As a follow up to the preliminary hearing held on September 11, 2024, please ﬁnd the Trustee’s proposed
spreadsheet which pays the allowed claims as ﬁled in this case.

As a reminder, the Trustee’s oﬃce cannot provide legal advice. A No ce of Pro Bono and Bankruptcy
Resources was ﬁled in your case on 8/6/2024 at Doc. No. 10. If needed, please reference that document and
reach out to the Bankruptcy Pro Se Clinic at h ps://www.bankruptcyproseclinic.com/ for assistance.

A Preliminary hearing is scheduled this Wednesday, October 23, 2024 at 10:00 AM regarding the Mortgage
Creditor, U.S. Bank c/o SN Servicing Corpora on, Mo on for Reconsidera on of Order Direc ng Mortgage
Modiﬁca on Media on (Doc. No. 27).

The Trustee has also scheduled a Conﬁrma on Hearing in your case, which will be held on December 10, 2024
at 10:45 A.M.

Please also note the following:

   -   Along with the Mo on for Reconsidera on of the Order Direc ng MMM, an Objec on to Conﬁrma on
       of Plan was also ﬁled by the Mortgage Creditor (Doc. No. 29 - a ached). In an abundance of cau on,
       and in the event the Creditor prevails upon these ﬁlings, the Trustee’s proposed spreadsheet
       provides treatment to U.S. Bank c/o SN Servicing Corpora on per the proof of claim as ﬁled (Claim
       No. 5).

   -   A proof of claim has not been ﬁled for the Homeowners Associa on claim that your original plan
       proposes to treat “PRO RATA” payments. The Trustee cannot disburse payments to a creditor unless a
       proof of claim is ﬁled, and as men oned at the 341 Mee ng of Creditors, the proposed treatment is
       not conﬁrmable.
          o As no proof of claim has been ﬁled by the HOA, the a ached proposed spreadsheet has the
              ongoing payments as being “paid outside the plan”.
          o If this is incorrect, a Proof of Claim will need to be ﬁled by/on behalf of the HOA Creditor.

   -   If treatment of the HOA creditor is direct/outside the plan, proof that these payments are current will
       need to be provided to the Trustee PRIOR to the 12/10/2024 Conﬁrma on hearing. This
       documenta on can be uploaded to the Trustee’s secured portal, BRAT.


Thank you,
                                                       1
                   Case 6:24-bk-04038-TPG   Doc 31   Filed 10/22/24   Page 3 of 3

Kind regards,
Chrystal

Chrystal G.
Paralegal

Office of Laurie K. Weatherford
CHAPTER 13 TRUSTEE
Middle District of Florida
Orlando Division
Email: info@c13orl.com
Website: https://c13orl.com/




                                               2
